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                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF KENTUCKY
                                     AT LOUISVILLE

UNITED STATES OF AMERICA                                                              PLAINTIFF


vs.                                                CRIMINAL ACTION NO. 3:16CR-149-RGJ


MOHAMMED AL ASAI                                                                   DEFENDANT


                        UNITED STATES’ TRIAL MEMORANDUM
                                  Electronically Filed

       The United States of America, by and through the undersigned Assistant United States

Attorneys, respectfully submits this trial memorandum in accordance with the previous order of

the Court.

I.     STATUTES INVOLVED AND ELEMENTS OF OFFENSES

       Count One of the Indictment charges a violation of 7 U.S.C. § 2024(b). To establish a

violation of that statute, the United States must prove:

       First, that the defendant acquired more than $100 worth of Electronic Benefit Transfer card

benefits in a way that was contrary to law; and

       Second, that the defendant knew that his acquisition of the Electronic Benefit Transfer card

benefits was contrary to law.

       See 7 U.S.C. § 2024(b).

       Counts Two and Three of the Indictment charge violations of 18 U.S.C. § 1343. To

establish a violation of that statute, the United States must prove:

       First, that the defendant knowingly participated in, devised, or intended to devise a scheme

to defraud in order to obtain money or property;
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        Second, that the scheme included a material misrepresentation or concealment of a material

fact;

        Third, that the defendant had the intent to defraud; and

        Fourth, that the defendant used wire communications, or caused another to use wire

communications in interstate commerce in furtherance of the scheme.

        See 18 U.S.C. § 1343.

II.     STATEMENT OF FACTS

        A. Undisputed Facts

        Counsel for the United States and defense counsel conferred regarding whether there were

agreed-upon facts. Defense counsel stated that he agreed that the Defendant owned Al Yasmine

Food Mart (Al Yasmine). He also stated that information provided by the Defendant in his

application for Al Yasmine to become an approved retailer with the Supplemental Nutrition

Assistance Program, also known as SNAP or the food stamp program, was undisputed.

Additionally, the parties previously filed a stipulation that a wire communication in interstate

commerce is generated each time a SNAP Electronic Benefit Transfer (EBT) card is swiped for a

purchase at a point-of-sale machine. Other than these facts, the Defendant takes the position that

all facts are disputed.

        B. United States’ Statement of Facts

        Around October 15, 2012, the defendant opened Al Sadiq Food Mart, doing business as Al

Yasmine Food Mart, at 6700 Strawberry Lane in Louisville, Kentucky. Around that time, he

submitted an application for Al Yasmine to become an approved retailer with SNAP. Al Yasmine

was classified as a “small grocery” store, though it also sold hot food and non-food items. As part

of Al Yasmine’s application, the defendant signed a certification stating:



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       I accept responsibility on behalf of the firm for violations of the Supplemental
       Nutrition Assistance Program regulations, including those committed by any of the
       firm’s employees, paid or unpaid, new, full-time, or part-time. These include
       violations such as, but not limited to:
           • Trading cash for Supplemental Nutrition Assistance Program benefits (i.e.
               trafficking);
           • Accepting Supplemental Nutrition Assistance Program benefits as payment
               for ineligible items;
           • Accepting Supplemental Nutrition Assistance Program benefits as payment
               on credit accounts or loans;
           • Knowingly accepting Supplemental Nutrition Assistance Program benefits
               from people not authorized to use them[.]

Al Yasmine was accepted as a SNAP retailer and continued to be one until USDA revoked its

authorization to be a SNAP retailer in November 2016.

         In 2015, the United States Department of Agriculture (USDA) and the Federal Bureau of

Investigation (FBI) began investigating Al Yasmine’s redemption of SNAP benefits. They

targeted Al Yasmine because it had a significantly higher level of redemption of SNAP benefits

compared to similar stores in the area. Additionally, since Al Yasmine became an authorized

SNAP retailer, a substantial number of transactions had been flagged as suspicious by the USDA-

Food and Nutrition Service Anti-fraud Locator using EBT Retailer Transactions (ALERT) system.

The ALERT system flags certain transactions as suspicious when they are indicative of patterns of

activity that have been identified in prior investigations as associated with fraud.

       During the course of the investigation, USDA and FBI sent three confidential informants

into Al Yasmine to attempt to sell SNAP benefits for cash. Al Yasmine was generally frequented

by Muslim men. The first confidential informant was a Muslim female, the second was a non-

Muslim male, and the third was a Muslim male.

       Initially, the Defendant told the female confidential informant he could not buy her

benefits, but indicated he would put her in touch with someone who would. Later, he introduced

her to Kareem Taqi and indicated he could buy her benefits. Unlike Asai, Taqi was not an

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authorized SNAP retailer. Rather, Taqi was a customer of Al Yasmine who received food stamps.

According to Taqi, the Defendant told him the Defendant wanted to purchase SNAP benefits from

the female confidential informant but could not due to a feud with her cousin. As such, he wanted

Taqi to be the Defendant’s proxy in purchasing her benefits. Taqi agreed, and the two took the

female confidential informant’s card, and used it to buy items for Al Yasmine at Sam’s Club and

other places. Later, Asai also swiped the card at Al Yasmine. Over $500 was charged to the card,

and the female confidential informant was given $350. Later, the Defendant started purchasing

benefits from the female confidential informant directly.      As noted in the previously filed

stipulation, each swipe of an EBT card, including those of the female confidential informant’s card

that are specified in the superseding indictment, generates a wire in interstate commerce.

       The Defendant refused to purchase benefits from the non-Muslim male confidential

informant.

       The Defendant directed his employee to provide cash for benefits to the Muslim male

confidential informant.

       In August 2016, a search warrant was executed at Al Yasmine. Several EBT cards were

found in the store, along with papers that appeared to be used to track SNAP payments. One of

the EBT cards belonged to an individual who was out of the country at the time of the search

warrant. A comparison between the SNAP transaction history and travel records of several Al

Yasmine customers shows that, while these customers were out of the country, their SNAP cards

were depleted at Al Yasmine. Witnesses have indicated that the Defendant would provide the

customers with cash in advance of their travel, then the customers would leave their EBT cards at

the store while they were gone, and the Defendant would deplete the balance of the card.




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       In addition to providing cash in exchange for benefits, the Defendant would provide other

non-food items of value in exchange for SNAP benefits. The Defendant would allow customers

to purchase non-food items, such as cigarettes or electronics, from his store with SNAP benefits.

The Defendant owned a car lot and would let people make payments on cars using SNAP benefits.

The Defendant was a notary and would allow people to pay for notary services using SNAP

benefits. The Defendant would also pay people’s utility bills in exchange for SNAP benefits.

III.   ANTICIPATED SUBSTANTIVE ISSUES OF LAW

       At this time, the United States does not anticipate any substantive issues of law.

IV.    ANTICIPATED EVIDENTIARY ISSUES

       A.      Coconspirator Statements Made by the Defendant’s Employees and

               Customers

       The Defendant was the head of conspiracy to commit SNAP fraud. His coconspirators

included customers, who exchanged their SNAP benefits for non-food items of value at the

Defendant’s store, and the Defendant’s employees, who provided customers with non-food items

in exchange for SNAP benefits. There will be evidence regarding statements made by one

employee addressing whether and how a customer could get cash back for benefits. There may

also be testimony regarding statements made by customers and employees during these

transactions. Under Federal Rule of Evidence 801(d)(2)(E), coconspirators statements made

during and in furtherance of a conspiracy are not hearsay.

       In the Sixth Circuit, the trial judge alone is responsible for deciding whether statements by

co-conspirators are admissible, and thus, the question of admissibility should not be submitted to

the jury. See, e.g., United States v. Mitchell, 556 F.2d 371, 377 (6th Cir. 1977). Instructions that

the jury may only consider a co-conspirator’s statement if the jury first finds that a conspiracy



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existed and that the defendant was a member of it have repeatedly been held to be “altogether

unnecessary.” See, e.g., United States v. Enright, 579 F.2d 980, 986-87 (6th Cir. 1978). The judge

should not advise the jury of the United States’ burden of proof on the preliminary question of

admissibility, or the judge’s determination that the United States has met its burden. United States

v. Vinson, 606 F.2d 149, 153 (6th Cir. 1979). Instead, the judge should admit the statements,

subject only to instructions on the United States’ ultimate burden of proof beyond a reasonable

doubt, and on the weight and credibility to be given statements by coconspirators. Id.

       In United States v. Wilson, 168 F.3d 916 (6th Cir. 1999), the court elaborated on the district

judge’s responsibility for deciding whether coconspirators’ statements are admissible. “Before a

district court may admit statements of a co-conspirator, three factors must be established: (1) that

the conspiracy existed; (2) that the defendant was a member of the conspiracy; and (3) that the

coconspirator’s statements were made in furtherance of the conspiracy. This three-part test is often

referred to as an Enright finding.” Id. at 920, citing United States v. Monus, 128 F.3d 376, 392

(6th Cir. 1997) and United States v. Enright, 579 F.2d 980, 986-87 (6th Cir. 1978). The party

offering the statement carries the burden of proof on these factors by a preponderance. Wilson,

168 F.3d at 921, citing Bourjaily v. United States, 483 U.S. 171, 176 (1987). The district court

may consider the hearsay statements themselves in deciding whether a conspiracy existed. Wilson,

168 F.3d at 921, citing Bourjaily, 483 U.S. at 181 and Fed. R. Evid. 801 (advisory committee note

on 1997 amendment to Rule 801). The district judge’s ruling on the statements’ admissibility

under Fed. R. Evid. 801(d)(2)(E) is generally reviewed for clear error, but if an evidentiary

objection is not made at the time of the testimony, the ruling is reviewed for plain error. Wilson,

168 F.3d at 920, citing United States v. Gessa, 971 F.2d 1257, 1261 (6th Cir. 1992) (en banc) and

United States v. Cowart, 90 F.3d 154, 157 (6th Cir. 1996).



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       B.      Statements Made by Defendant’s Employees and Agents Within the Scope of

               that Relationship

       Under Federal Rule of Evidence 801(d)(2)(D), a statement by a party’s employee or agent

made during the existence of that relationship on a matter within the scope of the relationship is

not considered hearsay when used against the party. In order to admit the admission under this

exception to the hearsay rule, the United States must establish that “the statement is offered against

a party and is ... a statement by the party’s agent or servant concerning a matter within the scope

of the agency or employment, made during the existence of the relationship.” Carter v. University

of Toledo, 349 F.3d 269 (6th Cir. 2003).

       Here, the United States anticipates introducing two kinds of statements that fall under Rule

801(d)(2)(D). First, as mentioned above, the United States anticipates introducing statements of

the Defendant’s employees. The Defendant had several employees who worked in the store,

operating the cash register and assisting customers. In the course of their duties, at the Defendant’s

behest, they would at times swipe EBT cards and provide cash in exchange for SNAP benefits,

and make statements regarding instructions they had received from the Defendant or the store’s

practices with respect to providing cash in exchange for SNAP benefits. There will be evidence

of statements made by the Defendant’s employees during these transactions, including statements

made by Defendant’s employee to the Muslim male confidential informant. Second, defense

counsel in this case has acted as the Defendant’s agent in a related administrative proceeding

regarding the revocation of Defendant’s status as an authorized SNAP retailer. During this

proceeding, defense counsel submitted a letter providing Defendant’s version of facts regarding

the alleged SNAP violations of Al Yasmine. Neither the statements of the employees in discussing




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the exchange of cash for benefits nor the statements of defense counsel in acting as Defendant’s

agent during the administrative proceeding are hearsay under Rule 801(d)(2)(D).

       C.      Transcripts

       The United States expects to admit evidence that contains recordings of transactions in the

store involving the female Muslim confidential informant and the male Muslim confidential

informant. A portion or all of the conversation in some of these transactions is in Arabic. As such,

English language translated transcripts will be provided to the Court, the defendant, and the jury.

The United States intends to call the linguist who prepared the verbatim English translated

transcripts of the conversations. The United States has provided notice of this linguist testifying

as an expert in Arabic-to-English translations. It is permissible to allow an English language jury

to evaluate evidence of a tape-recorded conversation in a foreign language solely through the use

of a properly authenticated English language transcript. United States v. Font-Ramirez, 944 F.2d

42, 49 (1st Cir. 1991). Accordingly, courts have long approved the introduction into evidence of

English transcripts for recordings conducted in foreign languages. United States v. Rengifo, 789

F.2d 975, 983 (1st Cir. 1991); United States v. Cruz, 765 F.2d 1020, 1024 (11th Cir. 1985)

(permitting English language jury to consider translated transcripts as substantive evidence);

United States v. Ulerio, 859 F.2d 1144, 1145 (2nd Cir. 1988) (admitting English language

translations into evidence and allowing jury to retain the transcripts during their deliberations).

With respect to the consensually recorded transactions, the United States intends to introduce

versions of the recordings that are clipped for content and duration. These clips will focus on the

evidence relevant to the United States’ case in chief.        The conversations will be properly

authenticated prior to the introduction of the transcripts.




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        D.      Scope of Cross-Examination

        The scope of a cross-examination is within the discretion of the trial court. Fed. R. Evid.

611(b). Rule 611(b) requires the court to “exercise reasonable control over the mode and order of

interrogating witnesses and presenting evidence so as to (1) make the interrogation and

presentation effective for the ascertainment of the truth, (2) avoid needless consumption of time,

and (3) protect witnesses from harassment or undue embarrassment.” “Cross-examination should

be limited to the subject matter of the direct examination and matters affecting the credibility of

the witness.” Id. The scope of cross-examination does not extend to matters that are irrelevant, or

as to which the relevance is substantially outweighed by unfair prejudice. Fed. R. Evid. 402, 403.

This issue may come up in a variety of ways, but in particular, prior work of the confidential

informants is not relevant unless it relates to their credibility.

        E.      Improper Use of 302s and Agent Notes

        Defense counsel should be limited to using interview summaries provided in the form of

memoranda of interview and agent notes consistent with the law and Rules of Evidence. The

United States will provide defense counsel with reports of interviews and agent notes from

numerous interviews, in case the agent ends up testifying to subjects covered in the reports or

notes. These reports and notes are Jencks material for the agent who wrote them if he testifies

about their substance. However, under Sixth Circuit law, these reports and notes do not constitute

“statements” of the interviewed witnesses. See United States v. Dorman, 108 Fed. App’x 228,

244-45 (6th Cir. 2004); United States v. Nathan, 816 F.2d 230, 236-37 (6th Cir. 1987); United

States v. Pope, 2007 WL 4395533 (W.D. Mich. 2007). The interviewed witnesses have not

reviewed these reports and notes, checked them for accuracy, or adopted them in any way.




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       Defense should be precluded from introducing the contents of the interview summaries to

impeach witnesses on the basis of inconsistent statements because the interview summaries are

statements of law enforcement agents summarizing the substance of an interview, not the

statements of the witnesses themselves. Palermo v. United States, 360 U.S. 350-53 (1959).

Moreover, defense must be precluded from publishing the contents of the interview summaries to

the jury, or otherwise suggesting to the jury that the interview summary is a statement of the

witness. See United States v. Marks, 816 F.2d 1207, 1210-11 (7th Cir. 1987) (holding that where

defense counsel read from a 302 during cross-examination in a way that would “seem

authoritative” and potentially confuse the jury, the judge was entitled to require the witness be

shown the 302 and given the opportunity to adopt or reject it as a statement, although such a

practice was no longer required by the Federal Rules of Evidence).

       The defense is free to ask a witness whether he or she made a statement that is reflected in

an interview summary. However, if the defense is not satisfied with the witness’ answer, the

defense may not publish or introduce the contents of the interview summary as a prior inconsistent

statement. “[S]uch documents [i.e., interview reports] have been deemed inadmissible for

impeaching witnesses on cross-examination because they represent the ‘investigator’s selections,

interpretations, and interpolations.” United States v. Brika, 416 F.3d 514, 529 (6th Cir. 2005),

abrogated on other grounds by United States v. Booker, 543 U.S. 222 (2005).

       F.      Reverse Rule 404(b) Evidence

       The Defendant legitimately sold groceries at Al Yasmine. It is anticipated that the

Defendant may attempt to introduce evidence of instances when he did not purchase Supplemental

Nutrition Assistance Program benefits for cash or when he conducted legitimate Supplemental

Nutrition Assistance Program transactions. Such evidence is irrelevant and inadmissible, as it does



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not negate the charge that he acted unlawfully on other occasions. The United States anticipates

filing a motion in limine to exclude this type of “reverse 404(b) evidence” of lawful activity.

       G.      Improper Character Evidence

       Other than testimony from character witnesses fitting within the narrow confines of Federal

Rules of Evidences Rule 404(a)(1) and 405(a), evidence offered by defendant of his lawfulness or

good conduct is not admissible. The United States anticipates filing a motion in limine to exclude

this type of improper character evidence.

       H.      Summary Charts

       The United States anticipates introducing summary charts illustrating SNAP sales at Al

Yasmine compared to other stores, along with charts related to the exchange of SNAP benefits for

cash while customers were out of the country and the exchange of SNAP benefits for utility

payments. District courts have routinely allowed the United States to introduce charts and

summaries based on the evidence. See United States v. Johnson, 319 U.S. 503, 519 (1943); United

States v. Gardner, 611 F.2d 770, 776 (9th Cir. 1980); see also Fed. R. Evid. 1006 (specifically

permitting the use of charts and summaries, even when the underlying records are not produced in

court). The summaries need not contain a defendant’s anticipated evidence. Myers v. United

States, 356 F.2d 469, 470 (5th Cir. 1966); Barsky v. United States, 339 F.2d 180, 181 (9th Cir.

1964). Copies of the summaries may be used during the testimony concerning them. See Myers,

356 F.2d at 470.       The summaries may be used during deliberations. See United States v.

Koskerides, 877 F.2d at 1129, 1134 (2d Cir. 1989); United States v. Silverman, 449 F.2d 1341,

1346 (2d Cir. 1971).

       The Sixth Circuit addressed the issue of summaries and described three kinds of

summaries: (1) primary-evidence summaries, (2) pedagogical-device summaries or illustrations;



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and (3) secondary-evidence summaries that are a combination of (1) and (2) “in that they are not

prepared entirely in compliance with Rule 1006 and yet are more than mere pedagogical devices

designed to simplify and clarify other evidence in the case.” United States v. Bray, 139 F.3d 1104,

1112 (6th Cir. 1998). Here, the United States anticipates using primary-evidence summaries.

       Primary-evidence summaries that are admissible pursuant to Rule 1006 summarize

“voluminous writings, recordings or photographs which cannot be conveniently examined in

court.” Fed. R. Evid. 1006. The summaries rather than the underlying documents are to be

considered evidence. See Bray, 139 F.3d at 1111 (citing 1 Edward J. Devitt, et al., Federal Jury

Practice and Instructions § 14.02 (4th ed. 1992); and 1 Leonard B. Sand, et al., Modern Federal

Jury Instructions (Criminal) § 5.05, pp. 5-34 (1997)). Therefore, these summary charts are

properly admissible as evidence without a limiting instruction.

       I.      Certified Business Records

       The United States will introduce business records pursuant to Federal Rule of Evidence

803(6). These records will include records from USDA, bank records of the Defendant,

Department of Homeland Security travel records related to certain customers, records from Sam’s

Club relating to the Defendant, and records from utility companies. These records are admissible

as an exception to the hearsay rule. Fed. R. Evid. 803(6).

       A business record must satisfy four requirements in order to be admissible under Rule

803(6): (1) it must have been made in the course of a regularly conducted business activity; (2) it

must have been kept in the regular course of that business; (3) the regular practice of that business

must have been to make the record; and (4) the record must have been made by a person with

knowledge of the transaction or from information transmitted by a person with knowledge. See

United States v. Salgado, 250 F.3d 438, 451 (6th Cir. 2001) (citations omitted). “The custodian of



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the records need not be in control of or have individual knowledge of the particular corporate

records, but need only be familiar with the company’s record-keeping practices.” Id.

        Under F.R.E. 902(11), the requirements for admission of a business record may be met

without the testimony of a custodian or other witness. The Government will use Rule 902(11)

certifications in this case.

        J.      Defense Exhibits

        Defense has provided limited reciprocal discovery despite the United States’ requests. On

October 16, 2018, defense counsel provided the United States with records related to the

Defendant’s work related to the United States military. No other records have been provided. The

United States will object to the introduction of any evidence not produced in advance of trial by

the Defendant and the Court is justified in precluding the use of any evidence not produced

pursuant to the discovery and scheduling orders and Federal Rules of Criminal Procedure. See,

e.g., United States v. Hardy, 586 F.3d 1040, 1043 (6th Cir. 2009).

V.      ANTICIPATED TRIAL PROBLEMS

        A.      Sealing Certain Trial Exhibits Containing Personally Identifying Information

        Many of the exhibits contain personally identifying information, including EBT card

numbers, SNAP household numbers, and bank information. Based on the volume of documents,

it is not realistic to redact all personally identifying information from all of the documents. The

more efficient method is to seal all records that contain personally identifying information. Also,




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the monitors in the courtroom facing the public should not display any of this sensitive

information.

       B.      Arabic Interpreter

       At least three witnesses for the United States have limited English proficiency and will

require use of a court-certified Arabic interpreter, which will be provided by the United States.

       C.      Confidential Informant’s Identity

       The United States may be filing a motion for a protective order related to one of the

confidential informants.

VI.    CONCLUSION

       WHEREFORE, the United States respectfully submits this trial memorandum in

compliance with the Court’s order. The United States’ Proposed Jury Instructions, Proposed Voir

Dire, and Exhibit List will be filed separately; while the United States’ Witness List will be

submitted for the Court’s in camera review.

                                              Respectfully submitted,
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                                CERTIFICATE OF SERVICE

        I hereby certify that on October 16, 2018, I electronically filed the foregoing with the
clerk of the court by using the CM/ECF system, which will send a notice of electronic filing to
the counsel to the defendant.

                                               s/ Amanda E. Gregory
                                               Amanda E. Gregory
                                               Assistant U.S. Attorney




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